              Case 1:17-cv-02003-GBD-SN Document 185 Filed 12/10/19 Page 1 of 2




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                                                                December 10, 2019

VIA ELECTRONIC CASE FILING

Honorable Magistrate Judge Sarah Netburn
United States District Court for the
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

          Re:        In Re: September 11, 2001 Terror Attacks, 03-mdl-1570 (GBD)(SN)
                     Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
                     Bauer et al. v. al Qaeda Islamic Army, et al., 02-cv-7236 (GBD)(SN)
                     Ashton et al. v. Kingdom of Saudi Arabia, 17-cv-2003 (GBD)(SN)

Dear Judge Netburn:

        First, let me report that on December 6, 2019 we forwarded the “economic files” related to the
Ryan and Maher Plaintiffs to their newly substituted counsel, Dennis Pantazis at the Wiggins law firm
consistent with the Court’s instructions and Order of November 26, 2019. We did an exhaustive search
through archived files in an off-site storage facility and located several hundred pages of economic and
employment records for each decedent that we gathered almost 17 years ago. All of these documents
were scanned, uploaded and provided to Mr. Pantazis in multiple emails.

       Second, as concerns the removal of the Ryan and Maher Plaintiffs’ cases from the Ashton action
and the filing of a new member case associated with the Havlish cases, it is our understanding that Mr.
Pantazis is proceeding to accomplish this and this morning the Court granted him an extension of time
within which to complete the process until December 17, 2019 (ECF No. 5344).

        Third, the parties have met and conferred and hereby report to the Court that the disputed
charging lien issue has been resolved. I have attached a copy of the unsigned stipulation consented to
by all parties and upon the execution by each individual, we will file same with the Court to have
it so-ordered. We thank Your Honor for the Court’s time and effort in bringing an end to this issue.
         Case 1:17-cv-02003-GBD-SN Document 185 Filed 12/10/19 Page 2 of 2



                                               Respectfully submitted,

                                               Michel F. Baumeister
                                               Michel F. Baumeister

MFB:cml
cc:  Jonathan Vuotto (via electronic mail)
     Dennis Pantazis (via electronic mail)
